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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
              vs.                               )                 8:05CR94
                                                )
ESTRELLA ALBA-CRUZ,                             )          SCHEDULING ORDER
                                                )
                     Defendant.                 )


       IT IS ORDERED that the following is set for hearing on July 19, 2005 at 9:00 a.m.
before Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

       - Motion to Suppress Evidence [66]

       Since this is a criminal case, the defendant must be present, unless excused by the
Court. An interpreter will be provided by the Court.

       DATED this 27th day of June, 2005.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
